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 1    DYKEMA GOSSET LLP
      Jon D. Cantor (SBN: 91852)
 2
      Email jdcantor@dykema.com
 3    Abirnmi Gnanadesigan (SBN: 263375)
 4    Email: agnanadesigan@dykema.com
      333 South Grand Avenue, Suite 2100
 5    Los Angeles CA 90071
 6    Telephone: (213) 457-1800
      Facsimile: (213) 457-1850
 7
      Attorneys for Plaintiff,
 8    TNG WORLDWIDE, INC.
 9
      MANDOUR & ASSOCIATES, APC
10    Joseph A. Mandour (SBN 188896)
11    Email: jmandour@mandourlaw.com
      Ben T. Lila (SBN 246808)
12    Email: blila@mandourlaw.com
13    8605 Santa Monica Blvd., Suite 1500
      Los Angeles, CA 90069
14
      Telephone (858) 487-9300
15    Attorneys for Defendant,
      BEAUTICOM, INC.
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                         UNITED STATES DISTRICT COURT
21
22                     CENTRAL DISTRICT OF CALIFORNIA
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                                                               Case No. 2:19-cv-2802-RSWL-SS
                                              STIPULATION TO EXTEND TIME TO RESPOND TO
                                   INITIAL COMPLAINT BY NOT MORE THAN 30 DAYS (L. R. 8-3)
                                            -1-
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 4
      TNG WORLDWIDE, INC., a                 Case No. 2:19-cv-2802-RSWL-SS
 5
      Michigan Corporation,
 6                                            STIPULATION TO EXTEND TIME
 7
                  Plaintiff,                  TO RESPOND TO INITIAL
                                              COMPLAINT BY NOT MORE THAN
 8          v.                                30 DAYS (L.R. 8-3)
 9
      BEAUTICOM, INC., a California           Judge: Honorable Ronald S.W. Lew
10    Corporation,
11                                            Complaint Served: April 15, 2019
                  Defendant.                  Current Response Date: May 6, 2019
12                                            New Response Date: June 5, 2019
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18          Plaintiff TNG Worldwide, Inc. (“TNG”) and defendant Beauticom, Inc.
19    (“Beauticom”), by and through their respective counsel, hereby stipulate as
20    follows:
21          WHEREAS this action was filed by TNG on April 11, 2019;
22          WHEREAS the Summons and Complaint was served on Beauticom on April
23    15, 2019;
24          WHEREAS, Beauticom’s response to the Complaint is currently due on
25    May 6, 2019;
26          WHEREAS, no previous extensions of time to respond to the Complaint
27    have been requested or given;
28

                                                                  Case No. 2:19-cv-2802-RSWL-SS
                                                 STIPULATION TO EXTEND TIME TO RESPOND TO
                                      INITIAL COMPLAINT BY NOT MORE THAN 30 DAYS (L. R. 8-3)
                                               -2-
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 1          IT IS HEREBY STIPULATED AND AGREED, by and between the
 2    undersigned counsel, that, pursuant to Local Rule 8-3, the deadline for Beauticom
 3    to respond to the Complaint is extended 30 days to and including June 5, 2019.
 4          IT IS SO STIPULATED:
 5
 6
 7                                          DYKEMA GOSSET LLP
      Date: May 1, 2019
 8
 9
                                                  /s/ Abirnmi Gnanadesigan
10
                                            Abirnmi Gnanadesigan (SBN: 263375)
11                                          Email: agnanadesigan@dykema.com
                                            Attorneys for Plaintiff,
12
                                            TNG WORLDWIDE, INC.
13
14                                          MANDOUR & ASSOCIATES, APC
      Date: May 1, 2019
15
16
                                                  /s/ Ben T. Lila
17                                          Ben T. Lila (SBN 246808)
18                                          Email: blila@mandourlaw.com
                                            Attorneys for Defendant,
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                                            BEAUTICOM, INC.
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                                                                 Case No. 2:19-cv-2802-RSWL-SS
                                                STIPULATION TO EXTEND TIME TO RESPOND TO
                                     INITIAL COMPLAINT BY NOT MORE THAN 30 DAYS (L. R. 8-3)
                                              -3-
     Case 2:19-cv-02802-RSWL-SS Document 12 Filed 05/01/19 Page 4 of 4 Page ID #:43



 1                            CERTIFICATE OF SERVICE
 2          I hereby certify that on the below date, I filed the foregoing document via
 3    the Court’s CM/ECF filing system, which will provide notice of the same on the
 4    following:
 5
            Jon David Cantor
 6          Email: jdcantor@dykema.com
 7          Dykema Gossett LLC
            Abirami Gnanadesigan
 8          Email: agnanadesigan@dykema.com
 9          333 South Grand Avenue No 2100
            Los Angeles, CA 90071
10
            Telephone: (213) 457-1800
11          Facsimile: (213) 457-1850
12          Email: jdcantor@dykema.com

13
14    Dated: May 1, 2019
                                                 /s/ Ben T. Lila
15
                                            Ben T. Lila
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                                                                 Case No. 2:19-cv-2802-RSWL-SS
                                                STIPULATION TO EXTEND TIME TO RESPOND TO
                                     INITIAL COMPLAINT BY NOT MORE THAN 30 DAYS (L. R. 8-3)
                                              -4-
